                UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF WISCONSIN

ESTATE OF DONTE’ DEVEL
SHANNON, by personal representative
Vivian Johnson,
                                                    Case No. 18-CV-194-JPS
                        Plaintiff,

v.
                                                                   ORDER
CITY OF RACINE, CHAD STILLMAN,
and PETER BOECK,

                        Defendants.


         On November 13, 2018, the parties filed a joint stipulation of

dismissal of this action without prejudice and without costs or fees assessed

to any party. (Docket #26). The Court will adopt that stipulation. See Fed. R.

Civ. P. 41(a)(1)(A)(ii). The Court will also deny as moot the pending motion

to withdraw by Plaintiff’s counsel. (Docket #24).

         Accordingly,

         IT IS ORDERED that the parties’ joint stipulation of dismissal

(Docket #26) be and the same is hereby ADOPTED; this action be and the

same is hereby DISMISSED without prejudice and without costs to any

party; and

         IT IS FURTHER ORDERED that Plaintiff’s motion to withdraw

(Docket #24) be and the same is hereby DENIED as moot.

         Dated at Milwaukee, Wisconsin, this 14th day of November, 2018.

                                      BY THE COURT:


                                      ____________________________________
                                      J. P. Stadtmueller
                                      U.S. District Judge


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